             Case 17-51882-CSS   Doc 95   Filed 09/20/18   Page 1 of 15




                 IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF DELAWARE

In re                                             Chapter 11

PARAGON OFFSHORE PLC,                             Case No. 16-10386 (CSS)

                   Debtor.


PARAGON LITIGATION TRUST,

                   Plaintiff,

        v.

NOBLE CORPORATION PLC, NOBLE                      Adv. Proc. No. 17-51882 (CSS)
CORPORATION HOLDINGS LTD., NOBLE
CORPORATION, NOBLE HOLDING
INTERNATIONAL (LUXEMBOURG) S.à r.l.,
NOBLE HOLDING INTERNATIONAL
(LUXEMBOURG NHIL) S.à r.l., NOBLE FDR
HOLDINGS LIMITED, MICHAEL A. CAWLEY,
JULIE H. EDWARDS, GORDON T. HALL, JON A.
MARSHALL, JAMES A. MACLENNAN, MARY P.
RICCIARDELLO, JULIE J. ROBERTSON, and
DAVID WILLIAMS,
                                                  Hearing Date: To Be Determined
                   Defendants.

         MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ MOTION
         PURSUANT TO BANKRUPTCY RULE 7016(b) AND 11 U.S.C. § 157(b)(3)
          FOR AN ORDER DETERMINING THAT THIS COURT MAY ONLY
        ENTER PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
        WITH RESPECT TO COUNTS I THROUGH VIII OF THE COMPLAINT
            Case 17-51882-CSS     Doc 95    Filed 09/20/18   Page 2 of 15



Dated: September 20, 2018       SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP

                                Anthony W. Clark (ID: 2051)
                                Stephen J. Della Penna (ID: 6103)
                                Skadden, Arps, Slate, Meagher & Flom LLP
                                One Rodney Square
                                P.O. Box 636
                                Wilmington, Delaware 19899-0636
                                Telephone: (302) 651-3000
                                Facsimile: (302) 651-3001

                                - and -

                                George A. Zimmerman (admitted pro hac vice)
                                Lauren E. Aguiar (admitted pro hac vice)
                                Four Times Square
                                New York, New York 10036-6522
                                Telephone: (212) 735-3000
                                Facsimile: (212) 735-2000

                                - and -

                                Wallis M. Hampton (admitted pro hac vice)
                                1000 Louisiana Street, Suite 6800
                                Houston, Texas 77002-5026
                                Telephone: (713) 655-5116
                                Facsimile: (713) 483-9116

                                Counsel for the Defendants
                    Case 17-51882-CSS                    Doc 95          Filed 09/20/18             Page 3 of 15



                                                   TABLE OF CONTENTS

TABLE OF AUTHORITIES .......................................................................................................... ii

PRELIMINARY STATEMENT .....................................................................................................1

NATURE AND STAGE OF PROCEEDING .................................................................................2

SUMMARY OF ARGUMENT .......................................................................................................3

STATEMENT OF FACTS ..............................................................................................................4

ARGUMENT ...................................................................................................................................4

I.        Counts VI through VIII Are Non-Core ................................................................................4

II.       Counts I Through V Must Be Finally Adjudicated Only By An Article III Court ..............5

CONCLUSION ................................................................................................................................9




                                                                     i
                   Case 17-51882-CSS                   Doc 95           Filed 09/20/18          Page 4 of 15



                                              TABLE OF AUTHORITIES

                                                              CASES

In re 431 W. Ponce De Leon, LLC,
        515 B.R. 660 (Bankr. N.D. Ga. 2014) .................................................................................6

In re Bellingham Insurance Agency, Inc., 702 F.3d 553 (9th Cir. 2012) ........................................7

Beskrone v. OpenGate Capital Group (In re PennySaver USA Publishing, LLC),
      587 B.R. 445 (Bankr. D. Del. 2018) ....................................................................................8

Chorches for Estate of Scott Cable Communications, Inc. v. U.S. Bank National
      Association,
      No. 11-00105 (KJC), 2014 WL 5280002 (Bankr. D. Del. Oct. 15, 2014) ..........................7

Ehleiter v. Grapetree Shores, Inc.,
        482 F.3d 207 (3d Cir. 2007).................................................................................................1

Executive Benefits Insurance Agency v. Arkison,
       134 S. Ct. 2165 (2014) .........................................................................................................7

Forman v. Kelly Capital, LLC (In re National Service Industries, Inc.), No. 14-50377
      (MFW),
      2015 WL 3827003 (Bankr. D. Del. June 19, 2015) .............................................................7

Granfinanciera, S.A. v. Nordberg,
       492 U.S. 33 (1989) ..................................................................................................... passim

Kirschner v. Agoglia,
       476 B.R. 75 (S.D.N.Y. 2012) ...............................................................................................8

Messer v. Magee (In re FKF 3, LLC), No. 13-CV-3601 (KMK),
      2016 WL 4540842 (S.D.N.Y. Aug. 30, 2016) .....................................................................6

Nickless v. Haws & Mills Street, Inc. (In re Fusco), No. 10-46416-MSH,
       2013 WL 2477268 (Bankr. D. Mass. June 10, 2013) ..........................................................6

Official Committee of Unsecured Creditors of Allied Systems Holding. Inc. v. Yucaipa
        American Alliance Fund I, L.P. (In re Allied Systems Holdings, Inc.),
        524 B.R. 598 (Bankr. D. Del. 2015) ....................................................................................5

Official Committee of Unsecured Creditors of Integrated Health Services, Inc. v. Elkins
        (In re Integrated Health Services., Inc.),
        291 B.R. 615 (Bankr. D. Del. 2003) ....................................................................................5

Penson Financial Services, Inc. v. O’Connell (In re Arbco Capital Management, LLP),
      479 B.R. 254 (S.D.N.Y. 2012) .............................................................................................8

                                                                   ii
                    Case 17-51882-CSS                      Doc 95           Filed 09/20/18            Page 5 of 15



Schubert v. Lucent Technologies Inc. (In re Winstar Commc’ns, Inc.),
      554 F.3d 382 (3d Cir. 2009).................................................................................................5

Shandler v. DLJ Merchant Banking, Inc. (In re Insilco Technologies, Inc.),
       330 B.R. 512 (Bankr. D. Del. 2005) ................................................................................1, 5

Stern v. Marshall,
        564 U.S. 462 (2011) ................................................................................................... passim

TP, Inc., v. Bank of America, N.A. (In re TP, Inc.),
       479 B.R. 373 (Bankr. E.D.N.C. 2012) .................................................................................6

Washington Mutual, Inc. v. XL Specialty Insurance Co. (In re Washington Mutual, Inc.),
      No. 08-12229 (MFW),
      2012 WL 4755209 (Bankr. D. Del. Oct. 4, 2012) ...............................................................5

Weisfelner v. Blavatnik (In re Lyondell Chemical Co.),
       467 B.R. 712 (S.D.N.Y. 2012) .............................................................................................8

Zazzali v. 1031 Exchange Group (In re DBSI, Inc.),
       467 B.R. 767 (Bankr. D. Del. 2012) ....................................................................................8

                                                   STATUTES AND RULES

28 U.S.C. § 157 ................................................................................................................................3

28 U.S.C. § 157(b) ...........................................................................................................................4

28 U.S.C. § 157(b)(3) ......................................................................................................................4

28 U.S.C. § 157(b)(2)(H) .................................................................................................................6

Federal Rule of Bankruptcy Procedure 7016(b) ..........................................................................3, 4

United States Bankruptcy Court for the District of Delaware Local Rule 7012-1 ..........................4




                                                                      iii
                Case 17-51882-CSS                Doc 95       Filed 09/20/18         Page 6 of 15




                                      PRELIMINARY STATEMENT1

                  The Complaint in this case contains eight counts. This Court granted the

Defendants’ motion to compel arbitration of Count VIII of the Complaint for unjust enrichment.2

(See D.I. 68). The remaining seven Counts assert claims that the Defendants are entitled to have

finally adjudicated by an Article III court. The Defendants do not consent to final adjudication

of any of these claims by this Court. This Court therefore should enter an order determining that

after any hearing on these claims, it will enter proposed findings of fact and conclusions of law

for de novo review by the district court.

                  The non-core claims include Counts VI through VIII for breach of fiduciary duty,

aiding and abetting breach of fiduciary duty, and for unjust enrichment. There is no dispute that

such matters are quintessential claims for damages at common law designed solely to augment

the estate. They do not arise in or arise under the Bankruptcy Code; could have been brought

absent the Debtors’ bankruptcy; and hence are non-core matters as to which this Court may only

enter proposed findings of fact and conclusions of law absent the parties’ consent.3

1
    Capitalized terms used but not defined herein shall have the meanings ascribed in the Memorandum Of Law In
    Support Of Defendants’ Motion To Dismiss In Favor Of Arbitration And To Stay The Proceedings [D.I. 24].
2
    If for any reason an arbitrator determines that this claim should be decided in litigation before this Court, for the
    reasons described in Section I, infra, the Court may enter only proposed findings of fact and conclusions of law
    with respect to any adjudication of this claim. See Shandler v. DLJ Merch. Banking, Inc. (In re Insilco Techs.,
    Inc.), 330 B.R. 512, 526 (Bankr. D. Del. 2005), aff’d, 394 B.R. 747 (D. Del. 2008) (unjust enrichment claims
    are not core proceedings because they do not “invoke[] a substantive right provided by title 11, nor could [the]
    claim arise only in the context of a bankruptcy case.”).
3
    This Court denied the Defendants’ motion to compel arbitration of Counts VI and VII. (See D.I. 68.) The
    Defendants are appealing this ruling. It is the Individual Defendants’ position that the pending appeal of their
    motion to compel arbitration of the breach of fiduciary duty and aiding and abetting breach of fiduciary duty
    claims against them pursuant to Section 16(a) of the Federal Arbitration Act has divested the Court of
    jurisdiction over those causes of action, and the Individual Defendants reserve all rights in this respect. See
    Ehleiter v. Grapetree Shores, Inc., 482 F.3d 207, 215 n.6 (3d Cir. 2007). The Defendants continue to believe
    these Counts should be arbitrated. But in the event this Court’s ruling is affirmed on appeal, the Defendants
    believe such Counts are non-core matters for the reasons described herein that can only be adjudicated on a final
    basis by the district court.
              Case 17-51882-CSS           Doc 95       Filed 09/20/18   Page 7 of 15



               The remaining counts of the Complaint – Counts I through V – are state and

federal fraudulent transfer claims that seek avoidance of certain intercompany obligations and

recovery of payments on such obligations to the Corporate Defendants. Like Counts VI through

VIII, the Supreme Court has held that fraudulent transfer claims are quintessential claims for

damages at common law designed solely to augment the estate. While fraudulent transfer claims

are statutory core claims under the Bankruptcy Code, Supreme Court precedent is clear they

nonetheless must be finally adjudicated by an Article III court where, as here, the defendants

have not filed any proofs of claim against the estate and do not consent to final adjudication by a

non-Article III court.


                           NATURE AND STAGE OF PROCEEDING

               On December 15, 2017, the Trust filed this adversary proceeding. (See D.I. 1.)

The Complaint alleges the following claims:

                        actual and constructive fraudulent transfer and recharacterization of debt

                         as equity against Noble and certain of its subsidiaries (Counts I through

                         V);

                        breach of fiduciary duty against two former Paragon directors (Count VI);

                        aiding and abetting breach of fiduciary duty against certain current and

                         former Noble directors (Count VII); and

                        unjust enrichment against Noble and certain of its subsidiaries (Count

                         VIII).

               The Defendants moved to dismiss the Trust’s claims for breach of fiduciary duty,

aiding and abetting, and unjust enrichment in favor of arbitration and to stay the proceedings in




                                                   2
               Case 17-51882-CSS         Doc 95       Filed 09/20/18    Page 8 of 15



the bankruptcy court pending arbitration (D.I. 23) based on the broad arbitration clause in the

agreements governing the Spin-Off.

               On August 6, 2018, the Court issued its Opinion compelling arbitration of the

unjust enrichment claim against the Corporate Defendants, but declining to compel arbitration of

the breach of fiduciary duty and aiding and abetting breach of fiduciary duty claims against the

Individual Defendants. The Court also denied the motion to stay pending arbitration. On August

20, 2018, the Defendants filed their notice of appeal with respect to the Court’s decision (D.I.

69).

               Pursuant to the Scheduling Order entered by the Court (D.I. 56), the Defendants

are required to file a motion pursuant to Federal Rule of Bankruptcy Procedure 7016(b) no later

than 45 days after entry of the order lifting the stay of proceedings that had been imposed while

the Court considered the Defendants’ motion to compel arbitration (i.e., September 20, 2018).


                                 SUMMARY OF ARGUMENT

          1.   Pursuant to 28 U.S.C. § 157, this Court must submit proposed findings of fact and

conclusions of law to the district court with respect to the statutorily non-core claims asserted as

Counts VI through VIII of the Complaint.

          2.   Pursuant to Article III of the U.S. Constitution, this Court must submit proposed

findings of fact and conclusions of law to the district court with respect to Counts I through V of

the Complaint. See Stern v. Marshall, 564 U.S. 462 (2011); Granfinanciera, S.A. v. Nordberg,

492 U.S. 33 (1989).




                                                  3
                 Case 17-51882-CSS              Doc 95        Filed 09/20/18       Page 9 of 15



                                         STATEMENT OF FACTS4

                  Prior to plan confirmation, the Defendants’ role in Paragon’s bankruptcy cases

was limited. None of the Defendants filed a proof of claim in Paragon’s bankruptcy case.

Paragon’s plan specifically provides that it does not affect the Defendants’ rights and defenses in

this litigation. (See D.I. 67 at 18-19.)

                  The Defendants have not consented to the bankruptcy court’s adjudicatory

authority in this litigation, citing Local Rule 7012-1 where applicable. (See D.I. 18, 20.) The

Defendants have also never consented to the bankruptcy court’s entry of a final judgment on any

non-core matters. The Defendants are timely filing this motion pursuant to Rule 7016(b) and 28

U.S.C. § 157(b)(3), consistent with the deadline established in the scheduling order entered by

the Court. (See D.I. 56 ¶ 3.)


                                                  ARGUMENT

I.       Counts VI through VIII Are Non-Core.

                  Count VI of the Complaint asserts that certain individuals, directors of Paragon,

breached their fiduciary duties to Paragon’s creditors. (See D.I. 1.) Count VII asserts that

certain individuals, directors of Noble, aided and abetted the breach of fiduciary duties by

Paragon’s directors. (See id.) Count VIII asserts that the Corporate Defendants have been

unjustly enriched. (See id.) None of these claims is identified as statutory core proceedings in

28 U.S.C. § 157(b). Under Third Circuit law, a claim nonetheless may be core if “it invokes a

substantive right provided by title 11 or . . . if it is a proceeding, that by its nature, could arise


4
     The Defendants limit the facts set forth herein to those necessary for consideration of this motion, which can
     largely be resolved as a matter of law. For a deeper explanation of the facts underlying the adversary
     proceeding, the Defendants refer the Court to the Memorandum Of Law In Support Of Defendants’ Motion To
     Dismiss In Favor Of Arbitration And To Stay The Proceedings [D.I. 24].



                                                          4
             Case 17-51882-CSS          Doc 95       Filed 09/20/18   Page 10 of 15



only in the context of a bankruptcy case.” Schubert v. Lucent Techs. Inc. (In re Winstar

Commc’ns, Inc.), 554 F.3d 382, 405 (3d Cir. 2009) (citation omitted).

               Claims for breach of fiduciary duty and aiding, abetting breach of fiduciary duty,

and unjust enrichment do not invoke any substantive rights provided by title 11. Nor are they

claims that, by their nature, could arise only in the context of a bankruptcy case. See Official

Comm. of Unsecured Creditors of Allied Sys. Holding. Inc. v. Yucaipa Am. Alliance Fund I, L.P.

(In re Allied Sys. Holdings, Inc.), 524 B.R. 598, 606 (Bankr. D. Del. 2015) (Sontchi, J.) (“[T]he

overwhelming majority of courts in this district and other districts conclude that breach of

fiduciary claims do not involve the application of bankruptcy law, are ordinary state law causes

of action, and could proceed outside the bankruptcy court.”); Shandler v. DLJ Merch. Banking,

Inc. (In re Insilco Techs., Inc.), 330 B.R. 512, 526 (Bankr. D. Del. 2005) (unjust enrichment

claims are non-core); see also Washington Mut., Inc. v. XL Specialty Ins. Co. (In re Washington

Mut., Inc.), No. 08-12229 (MFW), 2012 WL 4755209, at *2 (Bankr. D. Del. Oct. 4, 2012);

Official Comm. of Unsecured Creditors of Integrated Health Servs., Inc. v. Elkins (In re

Integrated Health Servs., Inc.), 291 B.R. 615, 618 (Bankr. D. Del. 2003).

               As a result, Counts VI through VIII are non-core. This Court therefore may only

enter proposed findings of fact and conclusions of law with respect to these claims.


II.    Counts I Through V Must Be Finally Adjudicated Only By An Article III Court.

               Counts I and II seek to avoid certain intercompany obligations from Paragon to

Noble and the payments on such obligations as actual fraudulent transfers under state and federal

law. Alternatively, Counts III and IV seek to avoid such intercompany obligations and the

payments on such obligations as constructively fraudulent transfers under state and federal law.

As another alternative, Count V seeks to re-characterize the intercompany obligations as equity


                                                 5
               Case 17-51882-CSS               Doc 95         Filed 09/20/18       Page 11 of 15



contributions and the related payments as dividends that should be recovered as constructively

fraudulent transfers.5 An action to recover a fraudulent transfer is a statutory core proceeding

under 28 U.S.C. § 157(b)(2)(H). Counts I through V therefore are statutory core matters.

                 However, in Granfinanciera, S.A. v. Nordberg, the Supreme Court held that

“[t]here can be little doubt that fraudulent conveyance actions by bankruptcy trustees . . . are

quintessentially suits at common law . . . [and] therefore appear matters of private rather than

public right.” 492 U.S. 33, 56 (1989). A defendant in a fraudulent conveyance action brought

by a bankruptcy trustee therefore is entitled by the Seventh Amendment to the U.S. Constitution

to have the action tried before a jury. The Supreme Court affirmed this principle in Stern v.

Marshall: “Congress could not constitutionally assign resolution of the fraudulent conveyance

action to a non-Article III court.” 564 U.S. 462, 492 n.7 (2011).

        Indeed, our decisions point to the conclusion that, if a statutory cause of action
        is legal in nature, the question whether the Seventh Amendment permits
        Congress to assign its adjudication to a tribunal that does not employ juries as
        factfinders requires the same answer as the question whether Article III allows
        Congress to assign adjudication of that cause of action to a non-Article III
        tribunal. For if a statutory cause of action, such as respondent’s right to
        recover a fraudulent conveyance under 11 U.S.C. § 548(a)(2), is not a “public
        right” for Article III purposes, then Congress may not assign its adjudication
        to a specialized non-Article III court lacking “the essential attributes of the
        judicial power.”

Granfinanciera, 492 U.S. at 53 (citation omitted).

5
    Whether an action by a debtor to re-characterize a debt claim asserted against the estate is core or non-core, or a
    matter that can only be adjudicated by an Article III court, can be debated. See Nickless v. Haws & Mills St.,
    Inc. (In re Fusco), No. 10-46416-MSH, 2013 WL 2477268, at *6 (Bankr. D. Mass. June 10, 2013) (debt
    recharacterization claim is a Stern claim unless it necessarily would be resolved in the claims allowance
    process); TP, Inc., v. Bank of Am., N.A. (In re TP, Inc.), 479 B.R. 373, 387 (Bankr. E.D.N.C. 2012) (same); see
    also Messer v. Magee (In re FKF 3, LLC), No. 13-CV-3601 (KMK), 2016 WL 4540842, at *13 (S.D.N.Y. Aug.
    30, 2016) (same); In re 431 W. Ponce De Leon, LLC, 515 B.R. 660, 684 (Bankr. N.D. Ga. 2014) (same). But
    that is not what the Litigation Trust seeks here. Count V instead is another fraudulent conveyance count,
    premised on a theory that is an alternative to the theories in Counts I through IV. Whereas Counts I through IV
    presume the validity of the intercompany obligations but seeks their avoidance, Count V seeks to recast the
    obligations as equity contributions so that the payments thereon can be characterized as dividends for which no
    reasonably equivalent value was provided.



                                                          6
             Case 17-51882-CSS          Doc 95        Filed 09/20/18   Page 12 of 15



               Subsequent to these decisions, the Supreme Court has held that a so-called “Stern

claim,” i.e., a statutory core claim that nonetheless must be finally adjudicated by an Article III

Court, can be heard by a bankruptcy court, but only if the court enters proposed findings of fact

and conclusions of law for de novo consideration by the district court unless the parties consent

to the bankruptcy court’s final adjudication of the matter. See Exec. Benefits Ins. Agency v.

Arkison, 134 S. Ct. 2165 (2014). Courts have followed these principles in ruling that defendants

in fraudulent conveyance actions brought by a bankruptcy estate representative are entitled to

have the action finally adjudicated by an Article III court where, as here, the defendants have not

filed proofs of claim in the bankruptcy case and have not consented to final adjudication by the

bankruptcy court.

               For example, in In re Bellingham Ins. Agency, Inc., the Ninth Circuit Court of

Appeals held that defendants in fraudulent conveyance actions are entitled to final adjudication

by an Article III court. 702 F.3d 553 (9th Cir. 2012). The Bellingham court reasoned that in

Stern, the Supreme Court “fully equated bankruptcy litigants’ Seventh Amendment right to a

jury trial in federal bankruptcy proceedings with their right to proceed before an Article III

judge.” Id. at 563; Stern, 564 U.S. at 492, 496-97. Judge Walrath has also held that she could

not enter a final order in a fraudulent transfer or breach of fiduciary claim absent consent unless

the action implicated a proof of claim. See Forman v. Kelly Capital, LLC (In re Nat’l Serv.

Indus., Inc.), No. 14-50377 (MFW), 2015 WL 3827003, at *2 (Bankr. D. Del. June 19, 2015); cf.

Chorches for Estate of Scott Cable Commc’ns, Inc. v. U.S. Bank Nat’l Ass’n, No. 11-00105

(KJC), 2014 WL 5280002, at *4 (Bankr. D. Del. Oct. 15, 2014) (Carey, J.) (entry of final order

on fraudulent transfer claim does not run afoul of Stern because creditor filed a proof of claim).




                                                  7
               Case 17-51882-CSS               Doc 95        Filed 09/20/18       Page 13 of 15



                 New York courts have adopted the same approach. See, e.g., Weisfelner v.

Blavatnik (In re Lyondell Chem. Co.), 467 B.R. 712, 721 n.7 (S.D.N.Y. 2012) (noting

“consensus” among New York judges that fraudulent transfer claims are Stern claims); see also

Kirschner v. Agoglia, 476 B.R. 75 (S.D.N.Y. 2012) (Rakoff, J.); Penson Fin. Servs., Inc. v.

O’Connell (In re Arbco Capital Mgmt., LLP), 479 B.R. 254 (S.D.N.Y. 2012) (Oetken, J.). These

decisions all reject arguments that Granfinanciera is only a “Seventh Amendment case” and is

inapplicable in an Article III context:

        Stern thus leaves no room for a fraudulent conveyance claim that is somehow a
        matter of private right in a Seventh Amendment context, but a matter of public
        right in an Article III context. Simply put, fraudulent conveyance claims in Stern
        and Granfinanciera are matters of either public or private right; they cannot be
        both.

Lyondell, 467 B.R. at 722; see Kirschner, 476 B.R. at 80 (“To now conclude that the very claim

presented in Granfinanciera—a fraudulent conveyance claim—is a ‘public rights’ claim would

be totally at odds with the Stern Court’s analogy to Granfinanciera.”); Arbco, 479 B.R. at 266

(“Granfinanciera makes clear that the analysis with respect to a defendant’s right under the

Seventh Amendment to a jury trial translates to the Article III context . . . .”).

                 Judge Walsh has issued a contrary ruling. See Zazzali v. 1031 Exch. Grp. (In re

DBSI, Inc.), 467 B.R. 767, 772 (Bankr. D. Del. 2012) (finding bankruptcy court had authority to

enter final judgment on avoidance claims).6 With greatest respect, however, that decision cannot

be squared with the Supreme Court’s statements in Stern. If a fraudulent conveyance is


6
    This Court has also uncontroversially held that it could enter final judgment on fraudulent transfer claims in a
    case where the defendants had filed proofs of claim. See Beskrone v. OpenGate Capital Group (In re
    PennySaver USA Publishing, LLC), 587 B.R. 445, 450 n.2 (Bankr. D. Del. 2018) (Sontchi, J.). However, the
    Defendants in this case have not filed proofs of claim and therefore retain their right to an Article III
    adjudication. To the extent that the Court’s decision in PennySaver rested on grounds other than the filing of a
    proof of claim, the Defendants respectfully submit that such holding cannot be reconciled with the Supreme
    Court’s decisions in Stern and Granfinanciera.



                                                         8
                Case 17-51882-CSS        Doc 95       Filed 09/20/18   Page 14 of 15



considered a private suit at common law for purposes of a defendant’s Seventh Amendment right

to a jury trial, then it should be considered a private suit at common law for purposes of a

defendant’s right to have the matter finally adjudicated by an Article III court. This Court

therefore respectfully should follow the considered weight of authority that has adopted this line

of reasoning.

                                          CONCLUSION

                 For all the foregoing reasons, the Defendants respectfully request that the Court

enter an order determining that it will submit proposed findings of fact and conclusions of law to

the district court on Counts I through VIII of the Complaint.


Dated: September 20, 2018
       Wilmington, Delaware

                                       SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP

                                       /s/ Anthony W. Clark
                                       Anthony W. Clark (ID: 2051)
                                       Stephen J. Della Penna (ID: 6103)
                                       Skadden, Arps, Slate, Meagher & Flom LLP
                                       One Rodney Square
                                       P.O. Box 636
                                       Wilmington, Delaware 19899-0636
                                       Telephone: (302) 651-3000
                                       Facsimile: (302) 651-3001

                                       - and -

                                       George A. Zimmerman (admitted pro hac vice)
                                       Lauren E. Aguiar (admitted pro hac vice)
                                       Four Times Square
                                       New York, New York 10036-6522
                                       Telephone: (212) 735-3000
                                       Facsimile: (212) 735-2000

                                       - and –

                                       Wallis M. Hampton (admitted pro hac vice)


                                                  9
               Case 17-51882-CSS    Doc 95     Filed 09/20/18    Page 15 of 15



                                   1000 Louisiana Street, Suite 6800
                                   Houston, Texas 77002-5026
                                   Telephone: (713) 655-5116
                                   Facsimile: (713) 483-9116

                                   Counsel for the Defendants




                                             10
1147649-NYCSR02A - MSW
